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GOVERNMENT
  EXHIBIT

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MILLER_Ext_0044
       Department of Justice   Ministère de la Justice
       Canada                  Canada

       Ottawa, Canada
       K1A 0H8




                          CERTIFICATE OF AUTHENTICATION


         IN THE MATTER OF the request for the extradition of Jimmy Miller
         the United States of America to Canada


I, Cathy Chalifour, Senior Counsel, International Assistance Group, Department of
Justice of Canada, do hereby certify:

THAT attached to this Certificate is authenticated documentation presented by
Canada in support of the request for the extradition of Jimmy Miller who stands
charged in the Province of Ontario with: one count of sexual assault with a weapon,
contrary to s. 272(1)(a) of the Criminal Code; three counts of sexual assault, contrary
to s. 271 of the Criminal Code; four counts of sexual interference, contrary to s. 151
of the Criminal Code; one count of utter threat to cause death, contrary to s.
264.1(1)(a) of the Criminal Code; two counts of invitation to sexual touching,
contrary to s. 152 of the Criminal Code; two counts of possession of a weapon for the
purpose of committing an offence, contrary to s. 88(1) of the Criminal Code; and, one
count of use of an imitation firearm while committing an indictable offence, contrary
to s. 85(2) of the Criminal Code.

THAT the documentation attached to this certificate is composed of:

   x     the Affidavit of Andrew Hotke, Crown Counsel, Ministry of the Attorney
         General for the Province of Ontario, which is appended:

              o as exhibit “A”, a copy of the Information filed in the Ontario Court of
                Justice, Oshawa, Ontario, by Special Constable Elizabeth Pennington on
                August 13, 2021, before Justice of the Peace Louis Bourgon;

              o as exhibit “B”, a copy of the Warrant for Arrest issued on August 13,
                2021, by Justice of the Peace Louis Bourgon of the Ontario Court of
                Justice, Oshawa, Ontario.

   x     the Affidavit of Detective Constable Kavanagh, Special Victims Unit, Durham
         Regional Police Service.




                                                                       MILLER_Ext_0045
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